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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 UNITED STATES OF AMERICA and
 THE STATE OF GEORGIA, ex rel.
 BETTY RINER,
      Plaintiff-Relator,                      Civil Action File No.:
 v.
                                              1:19-cv-04316-MLB
 COMMUNITY PRIMARY CARE OF
 GEORGIA, LLC (a/k/a Ga MedGroup,
       Defendant.



Request for Judicial Notice in Support of Defendant Community Primary Care
 of Georgia, LLC’S Motion to Dismiss Relator’s Second Amended Complaint

        Pursuant to Federal Rule of Evidence 201, Defendant Community Primary

Care of Georgia, LLC’s (“CPC”) requests that the Court take judicial notice of or

otherwise consider documents showing that CPC does not own the facilities

alleged by Relator in her Second Amended Complaint (“SAC”; see, e.g., SAC ¶11).

CPC files this Request in connection with its concurrently filed Motion to Dismiss

Relator’s SAC under Rules 8(a), 9(b) and 12(b)(6) of the Federal Rules of Civil

Procedure.

        Under Federal Rule of Evidence 201, the Court may take judicial notice of

any adjudicative fact “that is not subject to reasonable dispute because it: (1) is

generally known within the trial court's territorial jurisdiction; or (2) can be


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accurately and readily determined from sources whose accuracy cannot

reasonably be questioned.” Fed. R. Evid. 201(b)(1)-(2). In deciding a motion to

dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Court may

take judicial notice of public records when considering a motion to dismiss. See

Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1279–80 (11th Cir. 1999); Ohome v. U.S.,

2021 WL 5771147, at *7 n.4 (N.D. Ga. Dec. 6, 2021) (noticing information available

from a government website). Introducing these public records does not convert

CPC’s motion to dismiss into a motion for summary judgment. Serpentfoot v. Rome

City Comm’n, 322 Fed. Appx. 801, 807 (11th Cir. 2009) (per curiam) (citing Bryant v.

Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir. 1999)).

        In Relator’s First Amended Complaint (“FAC”), she specifically identified

seven nursing facilities— Scott Health & Rehab, Azalea Health & Rehab, Camellia

Health & Rehab, Orchard Health & Rehab, Riverview Health & Rehab, Heritage

Inn Health & Rehab, and Eagle Health & Rehab (the “FAC Facilities”)—at which

allegedly fraudulent practices occurred. (Doc. 44 ¶¶ 69, 82–84, 96–97, 112– 16, 119,

128, 131, 133–35, 143, 145.) In conjunction with its Motion to Dismiss Relator’s

FAC, CPC submitted ownership and management disclosure certificates available

at Medicare.gov for the FAC Facilities to show that CPC did not own or manage

them. (Doc. 50 at 1-4 & Exhs. A-G.) In its Order dismissing Relator’s FAC without


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prejudice as a shotgun pleading, this Court recognized that nursing home

ownership and management is capable of accurate and ready determination by

resort to www.Medicare.gov, whose accuracy cannot reasonably be questioned,

and therefore the disclosure pages thereon are proper subjects for judicial notice.

(Order at 10-11.)     However, the Court declined to notice CPC’s proffered

documents as perhaps not reflecting historical ownership and management and

because, though ambiguous, it was possible that Relator’s allegations referred to

more than the seven facilities identified by name. (Id. at 12-13.) The Court ordered

that Relator’s SAC must identify the specific facilities at which she claims CPC

engaged in misconduct and plead that fraud with particularity. (Id. at 8.)

        In her SAC, Relator alleges that CPC “owns, operates, and controls at least

56 patient facilities across Georgia” and identifies by name the 7 FAC Facilities and

49 others.1 (SAC ¶ 11.) As with the FAC Facilities, judicially noticeable documents

from Medicare.gov show that CPC does not own the additional facilities Relator




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  As discussed in CPC’s Brief in Support of its Motion to Dismiss Relator’s SAC,
Relator does not plead fraud with sufficient particularity at any of CPC’s alleged
locations. Indeed, aside from the paragraph in which she lists CPC’s allegedly
owned facilities, and a paragraph in which she lists nine facilities in which she
allegedly worked (i.e. the FAC Facilities plus Meadows Park and Oxley Park), her
SAC never again mentions by name facilities other than the FAC Facilities. ((SAC
¶¶ 11, 156.)

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lists in her SAC. Moreover, all of these documents actually do show historical

ownership and management because they contain a “since” date that shows the

start date of ownership and management. (See, e.g., CMS Ownership Certification

for Scott Health and Rehabilitation, attached as Exhibit A (identifying Piedmont

Regional Health Inc. as sole owner “since 11/01/2006” and Clinical Services, Inc.

as the entity with operational and managerial control “since 10/25/2005”).)

Therefore CPC requests this Court take judicial notice of the CMS ownership and

management disclosure certificates available at Medicare.gov for all 56 facilities

that Relator alleges that CPC owns, operates, or controls. A complete listing of

these facilities and the specific Medicare.gov address at which each certificate is

located is attached as Schedule A. The disclosure certificates found there are

attached for the Court’s convenience as Exhibits A through DDD.

        Before ruling on CPC’s Motion to Dismiss Relator’s FAC, this Court noted

that the submitted Medicare.gov website for Riverview Health & Rehab Center

lacked an ownership section, and requested briefing and supplemental

documentation from the parties on this issue. (Order dated April 21, 2022.) In

response, CPC submitted Riverview’s most recent IRS 990 form (for the tax year

ending       June   30,   2020)   available   through   the    IRS    website    at

https://www.irs.gov/charities-non-profits/tax-exempt-organization-search, and


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noted that the forms for prior years are also available from that site.

        As Relator alleged fraudulent acts at the Riverview facility beginning in

September 2018, CPC requests that this Court take judicial notice of Riverview’s

available Form 990 returns covering the tax periods July 1, 2018 through June 30,

2019 (the “2018 990”) and July 1, 2019 through June 30, 2020 (the “2019 990”). (See

SAC ¶¶ 103-04, 111-14, 119, 156.) These publicly available documents accessible

from a government website are proper subjects of judicial notice. See Flaa v.

Hollywood Foreign Press Ass’n, No. 220CV06974SBEX, 2020 WL 8256191, at *2 (C.D.

Cal. Nov. 20, 2020) (granting judicial notice of Form 990s because they were

“publicly available documents and their accuracy cannot be reasonably

questioned”); Africare, Inc. v. Xerox Complete Document Sols. Maryland, LLC, 436 F.

Supp. 3d 17, 45 (D.D.C. 2020), appeal dismissed, No. 20-7016, 2020 WL 3635125

(D.C. Cir. June 29, 2020), and appeal dismissed sub nom. De Lage Landen Fin. Servs.,

Inc. v. Africare, Inc., No. 20-5038, 2020 WL 3635115 (D.C. Cir. June 30, 2020)

(granting judicial notice of nonprofit’s Form 990s).

        On both Riverview’s 2018 990 and its 2019 990, question six in Section VI.A.

(on page 6) confirms that it has no stockholders or members. The 990 forms (page

2) also confirm that Riverview “operates” the nursing home. They further include

detailed information regarding Riverview’s officers, directors, and trustees, as


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well as its highest compensated independent contractors. As with the

Medicare.gov documents, there is no mention of CPC. This is because CPC does

not own, manage, or operate—directly or indirectly—the nursing home known as

Riverview Health & Rehab Ctr. Both Form 990s and the specific IRS.gov address

at which each return is located are listed in Schedule A. The 2018 990 and 2019 990

returns found there are attached for the Court’s convenience as Exhibits EEE and

FFF.

                                     Conclusion

        The Supreme Court has instructed that “courts must consider the complaint

in its entirety, as well as other sources courts ordinarily examine when ruling on

Rule 12(b)(6) motions to dismiss, in particular, documents incorporated into the

complaint by reference, and matters of which a court may take judicial notice.”

Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322, 127 S. Ct. 2499, 168 L.

Ed. 2d 179 (2007). For the reasons set forth above, CPC respectfully requests that

the Court take judicial notice of Exhibits A through FFF.

        Respectfully submitted this 6th day of July, 2022.

                                               ARNALL GOLDEN GREGORY LLP


                                               /s/ W. Jerad Rissler
                                               W. Jerad Rissler, Esq.


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                                        Schedule A

              All websites listed below were last visited on July 5, 2022.

              (1)  Scott Health & Rehab ownership and management disclosure:
        https://www.medicare.gov/care-compare/details/nursing-
        home/115671?id=117d44ac-fd88-4f0a-a99f-
        b718da91f8db&state=GA&measure=nursing-home-ownership, attached as
        Exhibit A;

              (2) Azalea Health & Rehab ownership and management disclosure:
        https://www.medicare.gov/care-compare/details/nursing-
        home/115642?id=c90ef5bc-053a-4c43-8258-
        9b4526c6e0b3&state=GA&measure=nursing-home-ownership, attached as
        Exhibit B;

              (3) Camellia Health & Rehab ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115598?id=e5c74d9f-934b-4fe1-979d-
        0ce620b3bc7d&state=GA&measure=nursing-home-ownership, attached as
        Exhibit C;

              (4) Orchard Health & Rehab ownership and management disclosure:
        https://www.medicare.gov/care-compare/details/nursing-
        home/115522?id=693fbade-9637-4195-b5d8-
        7775b90662ef&state=GA&measure=nursing-home-ownership, attached as
        Exhibit D;

              (5) Eagle Health & Rehab ownership and management disclosure:
        https://www.medicare.gov/care-compare/details/nursing-
        home/115618?id=cc280d1a-d485-4c9b-9def-
        18301f81a20b&state=GA&measure=nursing-home-ownership, attached as
        Exhibit E;

              (6) Riverview Health & Rehab ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115641?id=5d530724-4c5a-4c1d-9f3d-


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        6a2a79a09af3&state=GA&measure=nursing-home-ownership, attached as
        Exhibit F;

              (7) Heritage Inn of Sandersville Health and Rehab ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115369?id=13417375-7d7e-4d54-b018-
        4ef4a4a5abef&state=GA&measure=nursing-home-ownership, attached as
        Exhibit G;

              (8) Heritage Inn Health & Rehabilitation of Statesboro ownership
        and management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115597?id=ccb3b2ba-140c-4727-b31c-
        c40cae1a9d0c&state=GA&measure=nursing-home-ownership, attached as
        Exhibit H;

              (9) Meadows Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115726?id=b684dd9f-6181-465f-aed2-
        0212070cfb4a&state=GA&measure=nursing-home-ownership, attached as
        Exhibit I;

              (10) Oxley Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115387?id=2ffa49f1-d135-449e-a1c1-
        f216b1446134&state=GA&measure=nursing-home-ownership, attached as
        Exhibit J;

              (11) Traditions Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115473?id=77908dda-675f-4b1f-bb44-
        fe7e94d258e6&state=GA&measure=nursing-home-ownership, attached as
        Exhibit K;

              (12) Ansley Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115722?id=0e647216-5c58-46e7-883b-
        848e454e864a&state=GA&measure=nursing-home-ownership, attached as


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        Exhibit L;

              (13) Archway Transitional Care Center ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115728?id=9e23df9d-e2c3-4eec-9cec-
        7f3c737b80be&state=GA&measure=nursing-home-ownership, attached as
        Exhibit M;

              (14) Autumn Lane Health & Rehabilitation Center (also known as
        “Gray Health & Rehabilitation Center”) ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115466?id=6a5b35b1-ea78-4a16-9220-
        7d6d1ea26e38&state=GA&measure=nursing-home-ownership, attached as
        Exhibit N;

              (15) Avalon Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115528?id=b31163aa-5c15-481c-837a-
        c05adbc0e1c4&state=GA&measure=nursing-home-ownership, attached as
        Exhibit O;

              (16) Bolingreen Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115346?id=c8c63170-5ee2-4249-81cc-
        49f30d7feb1a&state=GA&measure=nursing-home-ownership, attached as
        Exhibit P;

              (17) Brentwood Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115361?id=c83c7406-aacb-473d-840c-
        63f5b4fdc1ba&state=GA&measure=nursing-home-ownership, attached as
        Exhibit Q;

              (18) Brown Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115090?id=b9762897-d686-43ea-bc81-
        51b69ccb5281&state=GA&measure=nursing-home-ownership, attached as


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        Exhibit R;

              (19) Chaplinwood Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115477?id=e8a2b09c-8cf3-4017-a032-
        850f3a86b211&state=GA&measure=nursing-home-ownership, attached as
        Exhibit S;

              (20) Chelsey Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115724?id=fbdc265d-31a2-4ddb-bf42-
        1e45e18c9db4&state=GA&measure=nursing-home-ownership, attached as
        Exhibit T;

              (21) Cherry Blossom Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115652?id=e147fcd5-0727-4b79-8458-
        257a9d9dc9ba&state=GA&measure=nursing-home-ownership, attached as
        Exhibit U;

              (22) Comer Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115289?id=f2aebdd0-31ec-4056-a9a2-
        67e63776330b&state=GA&measure=nursing-home-ownership, attached as
        Exhibit V;

              (23) Dawson Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115483?id=cbbdecca-d2f9-4147-bba6-
        222e220e772e&state=GA&measure=nursing-home-ownership, attached as
        Exhibit W;

              (24) Eatonton Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115595?id=fdcd8a67-5a16-4e10-9cc8-
        fc78836abf42&state=GA&measure=nursing-home-ownership, attached as



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        Exhibit X;

              (25) Four County Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115481?id=9dbe6ea1-a19f-4138-9705-
        027ffa7e665b&state=GA&measure=nursing-home-ownership, attached as
        Exhibit Y;

              (26) Gibson Southern Living Center2 ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115613?id=49d15333-014d-4b8c-b8a7-
        b6347e776bfd&state=GA&measure=nursing-home-ownership, attached as
        Exhibit Z;

              (27) Gordon Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115584?id=119e3e88-80f4-417a-a50c-
        7064f9cbdf90&state=GA&measure=nursing-home-ownership, attached as
        Exhibit AA;

              (28) Green Acres Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115578?id=92744832-721e-4a0d-9ab0-
        da0442179fe2&state=GA&measure=nursing-home-ownership, attached as
        Exhibit BB;

              (29) Greene Point Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115488?id=655d493b-c25e-4b1e-81cb-
        4a843e81f1e1&state=GA&measure=nursing-home-ownership, attached as




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  This nursing home is reported on Medicare.gov as “Gibson Health and
Rehabilitation,” which is the only nursing home reported on the Medicare.gov
website operating at 434 Beall Springs Road, Gibson, GA 30810 (the same address
as Gibson Southern Living Center).

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        Exhibit CC;

              (30) Harrington Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115725?id=d29c8407-c028-4d83-be3f-
        01b71c4d649a&state=GA&measure=nursing-home-ownership, attached as
        Exhibit DD;

              (31) Hartwell Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115435?id=b00c8484-c7d3-42f2-a59c-
        be58b02d8024&state=GA&measure=nursing-home-ownership, attached as
        Exhibit EE;

              (32) Heritage Inn of Barnesville Health & Rehabilitation Center
        ownership and management disclosure:
        https://www.medicare.gov/care-compare/details/nursing-
        home/115447?id=b29aaad4-57ee-4a42-acc6-
        8bedd65567cd&state=GA&measure=nursing-home-ownership, attached as
        Exhibit FF;

              (33) High Shoals Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115279?id=c45a7a52-276c-451f-8f01-
        fb75552c35de&state=GA&measure=nursing-home-ownership, attached as
        Exhibit GG;

              (34) Lee County Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115614?id=d74da4a9-0658-4004-bc6e-
        82493d80c838&state=GA&measure=nursing-home-ownership, attached as
        Exhibit HH;

              (35) Legacy Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115496?id=ac2a3946-c8d8-4a5b-aea7-
        f3dc9a84be9a&state=GA&measure=nursing-home-ownership, attached as


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        Exhibit II;

              (36) Lillian Carter Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115550?id=81390396-47dd-4778-9655-
        5a0f09a1582a&state=GA&measure=nursing-home-ownership, attached as
        Exhibit JJ;

              (37) Lynn Haven Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115474?id=3c52d88e-a397-4ce0-9438-
        d0e3fdbd4f92&state=GA&measure=nursing-home-ownership, attached as
        Exhibit KK;

              (38) Montezuma Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115364?id=d7756d69-03c7-4abc-a7ac-
        e306e2a3c915&state=GA&measure=nursing-home-ownership, attached as
        Exhibit LL;

              (39) Newnan Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115138?id=c1784302-e6bf-40c7-afac-
        334f96536f74&state=GA&measure=nursing-home-ownership, attached as
        Exhibit MM;

              (40) Northridge Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115714?id=2f807a4c-e024-4f5c-b57a-
        6032fb9c135d&state=GA&measure=nursing-home-ownership, attached as
        Exhibit NN;

              (41) Oak View Waverly Hall ownership and management
        disclosure: https://www.medicare.gov/care-compare/details/nursing-
        home/115576?id=4af0bb00-e71e-41d0-9b3f-
        8ff9b938aeb3&state=GA&measure=nursing-home-ownership, attached as



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        Exhibit OO;

              (42) Oakview Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115428?id=c21de4e7-0058-4717-8cb2-
        445f95a1a01d&state=GA&measure=nursing-home-ownership, attached as
        Exhibit PP;

              (43) Oconee Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115357?id=db41d359-7671-426f-8011-
        c4ff5a232f01&state=GA&measure=nursing-home-ownership, attached as
        Exhibit QQ;

              (44) Riverside Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115353?id=d00fa3d4-1a17-4440-8b67-
        5734418cd0bb&state=GA&measure=nursing-home-ownership, attached as
        Exhibit RR;

              (45) Southland Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115460?id=c2c773f2-c654-4db4-9c6d-
        83ab8d8a928a&state=GA&measure=nursing-home-ownership, attached as
        Exhibit SS;

              (46) Sparta Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115382?id=d0282c0a-4bd6-4257-aab6-
        a9997e913530&state=GA&measure=nursing-home-ownership, attached as
        Exhibit TT;

              (47) Stevens Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115294?id=e38f18f7-216e-4cb6-8940-
        a5871987c301&state=GA&measure=nursing-home-ownership, attached as



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        Exhibit UU;

              (48) Taylor County Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115507?id=19890d7e-2d0b-44e8-8c51-
        0cdd846aab3b&state=GA&measure=nursing-home-ownership, attached as
        Exhibit VV;

              (49) Townsend Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115461?id=c3f34cd7-f5ac-44e4-9085-
        26d38c4048c9&state=GA&measure=nursing-home-ownership, attached as
        Exhibit WW;

              (50) Treutlen County Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115358?id=ab7fd4c0-ee36-41d7-9660-
        032ba06b7846&state=GA&measure=nursing-home-ownership, attached as
        Exhibit XX;

              (51) Vista Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115611?id=65ac9715-725f-4c5e-aa55-
        cb2584adcbcb&state=GA&measure=nursing-home-ownership, attached as
        Exhibit YY;

              (52) Warrenton Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115321?id=13c4906c-8dfb-4559-940d-
        5abfd7e457a7&state=GA&measure=nursing-home-ownership, attached as
        Exhibit ZZ;

              (53) Waycross Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115605?id=c2fa97ff-7c2f-403e-a1e1-
        f29a34df6f9f&state=GA&measure=nursing-home-ownership, attached as



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        Exhibit AAA;

              (54) Winthrop Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115395?id=b1982550-adaa-4581-8b74-
        62bd769f36e2&state=GA&measure=nursing-home-ownership, attached as
        Exhibit BBB;

              (55) Wynfield Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115625?id=1d8cffef-55e4-40e4-bd9c-
        37d85862fa62&state=GA&measure=nursing-home-ownership, attached as
        Exhibit CCC;

              (56) Zebulon Park Health & Rehabilitation Center ownership and
        management disclosure: https://www.medicare.gov/care-
        compare/details/nursing-home/115295?id=42b152a2-d62d-4c50-99fe-
        a5bdfe7ea3f1&state=GA&measure=nursing-home-ownership, attached as
        Exhibit DDD;

              (57) Riverview Health and Rehabilitation Center, Inc. Form 990 for
        tax year beginning July 1, 2018 and ending June 30, 2019:
        https://apps.irs.gov/pub/epostcard/cor/580866101_201906_990_2021030
        817788389.pdf, attached as Exhibit EEE; and

               (58) Riverview Health and Rehabilitation Center, Inc. Form 990 for
        tax year beginning July 1, 2019 and ending June 30, 2020:
        https://apps.irs.gov/pub/epostcard/cor/580866101_202006_990_2022031
        119743185.pdf, attached as Exhibit FFF.




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Scott Health & Rehabilitation

Ownership

 Legal business name
 Johnson County Ltc, LLC

 Ownership type
 Non profit - Other

 Contact info
 12 Smith Lane
 Adrian, GA 31002
 (478) 668-3225




Owners and managers of Scott Health & Rehabilitation

OWNER
5% or greater direct ownership interest

PIEDMONT REGIONAL HEALTH INC (100%)
since 11/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/25/2005
HUNT, GEORGE
since 01/01/2019


OFFICER


BROWNING, BECKY
since 11/10/2014


MANAGING EMPLOYEE


BROWN, DEANNA
since 01/27/2020
BROWNING, BECKY
since 11/01/2006
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Azalea Health and
Rehabilitation

Ownership

 Legal business name
 Candler County Ltc, LLC

 Ownership type
 Non profit - Other

 Contact info
 300 Cedar Road
 Metter, GA 30439
 (912) 685-5734




Owners and managers of Azalea Health and Rehabilitation

OWNER
5% or greater direct ownership interest

PIEDMONT REGIONAL HEALTH INC (100%)
since 11/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/25/2005
HODGES, KIMBERLY
since 11/01/2016


OFFICER


HOWELL, LYNIS
since 07/23/2018


MANAGING EMPLOYEE


ALLEN, GERALDINE
since 03/27/2007
HOWELL, LYNIS
since 07/23/2018
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Camellia Health &
Rehabilitation

Ownership

 Legal business name
 Evans County Ltc LLC

 Ownership type
 Non profit - Other

 Contact info
 700 East Long Street
 Claxton, GA 30417
 (912) 739-2245




Owners and managers of Camellia Health & Rehabilitation

OWNER
5% or greater direct ownership interest

PIEDMONT REGIONAL HEALTH INC (100%)
since 11/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/25/2005
POOLE, BRANDON
since 07/01/2021


OFFICER


BROWN, JOVI
since 12/14/2021


MANAGING EMPLOYEE


BROWN, JOVI
since 12/14/2021
TODD, SANDRA
since 11/25/2020
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Orchard Health and
Rehabilitation

Ownership

 Legal business name
 Candler County II Ltc LLC

 Ownership type
 Non profit - Other

 Contact info
 1321 Pulaski School Road
 Pulaski, GA 30451
 (912) 685-5072




Owners and managers of Orchard Health and Rehabilitation

OWNER
5% or greater direct ownership interest

PIEDMONT REGIONAL HEALTH INC (100%)
since 11/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/25/2005
HUNT, GEORGE
since 01/01/2019


OFFICER


FOSKEY, LINDA
since 07/26/2020


MANAGING EMPLOYEE


EASON, PAMELA
since 12/18/2017
FOSKEY, LINDA
since 07/26/2020
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Eagle Health & Rehabilitation

Ownership

 Legal business name
 Bulloch County Ltc LLC

 Ownership type
 Non profit - Other

 Contact info
 405 S College St
 Statesboro, GA 30458
 (912) 764-6108




Owners and managers of Eagle Health & Rehabilitation

OWNER
5% or greater direct ownership interest

PIEDMONT REGIONAL HEALTH INC (100%)
since 11/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/25/2005
HUNT, GEORGE
since 01/01/2019
POOLE, BRANDON
since 07/01/2021


OFFICER


ROWE, JOHN
since 04/04/2022


MANAGING EMPLOYEE


HERRERA, JANET
since 01/03/2022
ROWE, JOHN
since 04/04/2022
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Riverview Health & Rehab Ctr

Ownership

 Legal business name
 Riverview Health and Rehabilitation Center, Inc.

 Ownership type
 Non profit - Corporation

 Contact info
 6711 Laroche Avenue
 Savannah, GA 31406
 (912) 354-8225




Owners and managers of Riverview Health & Rehab Ctr

OPERATIONAL/MANAGERIAL CONTROL


POOLE, BRANDON
since 07/01/2021
RIVERVIEW HEALTH AND REHABILITATION CENTER, INC.
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since 08/27/2012


DIRECTOR


BOOKER, STEPHEN
since 08/27/2012
BRAUN, DANA
since 08/27/2012
COLLINS, TERRI
since 01/04/2021
DAVIS, PATTI
since 04/01/2021
DRUM-PAQUETTE, HANNAH
since 04/01/2021
HAGERTY, DEEBRA
since 01/02/2013
JINDANI, SHINAZ
since 04/01/2021
KOSTER, PHILIP
since 04/01/2021
MESSER, BRANDON
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since 04/01/2021
RICH, LEIGH
since 05/01/2021
SEAGRAVES, DEE DEE
since 01/02/2014
SMITH, CLINT
since 05/03/2021
TRUITT, RAY
since 12/01/2009


OFFICER


LUCKE, CAROLYN
since 06/01/2020


MANAGING EMPLOYEE


LUCKE, CAROLYN
since 06/01/2020
VEIGA-JONES, DIANE
since 10/05/2020
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Heritage Inn of Sandersville
Health and Rehab

Ownership

 Legal business name
 Heritage Inn of Sandersville LLC

 Ownership type
 Non profit - Other

 Contact info
 652 Ferncrest Drive
 Sandersville, GA 31082
 (478) 552-3015




Owners and managers of Heritage Inn of Sandersville Health and Rehab

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


MCMICHAEL, KAREN
since 08/13/2014


MANAGING EMPLOYEE


COLLINS, VICTORIA
since 10/18/2021
MCMICHAEL, KAREN
since 09/30/2003
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Heritage Inn Health and
Rehabilitation

Ownership

 Legal business name
 Bulloch County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 307 Jones Mill Road
 Statesboro, GA 30458
 (912) 764-9011




Owners and managers of Heritage Inn Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 11/01/2007
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/01/2007
POOLE, BRANDON
since 07/01/2021


OFFICER


HERRON, LATASHA
since 10/12/2020


MANAGING EMPLOYEE


GIBSON, MARTHA
since 05/10/2021
HERRON, LATASHA
since 10/12/2020
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Meadows Park Health and
Rehabilitation

Ownership

 Legal business name
 Meadows Park Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 119 Meadows Parkway West
 Vidalia, GA 30474
 (912) 403-3400




Owners and managers of Meadows Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 10/23/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 01/01/2015
WILKS, DIANA
since 01/01/2015


OFFICER


PARKER, RACHEL
since 07/12/2020


MANAGING EMPLOYEE


HOLMES, RACHEL
since 11/25/2020
PARKER, RACHEL
since 07/12/2020
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Oxley Park Health and
Rehabilitation

Ownership

 Legal business name
 Toombs Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 181 Oxley Drive
 Lyons, GA 30436
 (912) 526-6336




Owners and managers of Oxley Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


MORRIS, AMY
since 05/11/2017


MANAGING EMPLOYEE


MORRIS, AMY
since 05/11/2017
SHARPTON, NANCY
since 07/17/2021
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Traditions Health and
Rehabilitation

Ownership

 Legal business name
 Traditions Health and Rehabilitation Center LLC

 Ownership type
 Non profit - Other

 Contact info
 2816 Evans Mill Road
 Lithonia, GA 30058
 (770) 482-2961




Owners and managers of Traditions Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


CLARK, SOUKHY
since 06/04/2021


MANAGING EMPLOYEE


CLARK, SOUKHY
since 06/04/2021
FALANA, KAREN
since 04/03/2017
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Ansley Park Health and
Rehabilitation

Ownership

 Legal business name
 Ansley Park Health and Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 450 Newnan Lakes Blvd
 Newnan, GA 30263
 (770) 400-8000




Owners and managers of Ansley Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC
since 04/22/2013
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/22/2013
POOLE, BRANDON
since 07/01/2021


OFFICER


DEBERRY, MIRIAM
since 01/26/2022


MANAGING EMPLOYEE


DEBERRY, MIRIAM
since 01/26/2022
DEVER, ANNA
since 04/17/2017
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Archway Transitional Care
Center

Ownership

 Legal business name
 Bibb County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 4373 Houston Avenue
 Macon, GA 31206
 (478) 216-5660




Owners and managers of Archway Transitional Care Center

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 12/12/2016
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 12/12/2016
POOLE, BRANDON
since 07/01/2021


OFFICER


REGAN, FAITH
since 11/17/2021


MANAGING EMPLOYEE


REGAN, FAITH
since 11/17/2021
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Autumn Lane Health and
Rehabilitation

Ownership

 Legal business name
 Jones County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 302 Georgia 18 East
 Gray, GA 31032
 (478) 986-3151




Owners and managers of Autumn Lane Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


NELSON, EDWARD
since 07/18/2005


MANAGING EMPLOYEE


NELSON, EDWARD
since 07/18/2005
WHIPPLE, KENDRA
since 08/15/2021
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Avalon Health and
Rehabilitation

Ownership

 Legal business name
 Avalon Health Care LLC

 Ownership type
 For profit - Corporation

 Contact info
 120 Spring Street
 Newnan, GA 30263
 (770) 253-1475




Owners and managers of Avalon Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


DEAN, THOMAS
since 10/06/2021


MANAGING EMPLOYEE


DEAN, THOMAS
since 10/06/2021
GAMBLE, JOANNA
since 01/28/2022
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Bolingreen Health and
Rehabilitation

Ownership

 Legal business name
 Monroe County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 529 Bolingreen Drive
 Macon, GA 31210
 (478) 477-1720




Owners and managers of Bolingreen Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 07/01/2005
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


KENNEDY, JODIE
since 10/18/2021


MANAGING EMPLOYEE


AMYOT, THERESA
since 02/04/2022
KENNEDY, JODIE
since 10/18/2021
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Brentwood Health and
Rehabilitation

Ownership

 Legal business name
 Brentwood Terrace Health Center, LLC

 Ownership type
 Non profit - Other

 Contact info
 115 Brentwood Drive
 Waynesboro, GA 30830
 (706) 554-4425




Owners and managers of Brentwood Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


LANE, TINA
since 04/01/2014


MANAGING EMPLOYEE


LANE, TINA
since 09/30/2003
MOODY, ALECIA
since 02/15/2021
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Brown Health and
Rehabilitation

Ownership

 Legal business name
 Franklin County Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 545 Cook Street
 Royston, GA 30662
 (706) 245-1900




Owners and managers of Brown Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/01/2014
POOLE, BRANDON
since 07/01/2021


OFFICER


MURRAY, CHRISTOPHER
since 11/21/2021


MANAGING EMPLOYEE


GIPSON, TANA
since 09/03/2021
MURRAY, CHRISTOPHER
since 11/21/2021
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Chaplinwood Nursing Home

Ownership

 Legal business name
 Chaplinwood Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 325 Allen Memorial Drive SW
 Milledgeville, GA 31061
 (478) 453-8514




Owners and managers of Chaplinwood Nursing Home

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/13/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


WILDER, SHANNETHA
since 07/26/2020


MANAGING EMPLOYEE


SANDERS, KAITLIN
since 05/17/2021
WILDER, SHANNETHA
since 07/26/2020
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Chelsey Park Health and
Rehabilitation

Ownership

 Legal business name
 Chelsey Park Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 200 Mountain Park Drive
 Dahlonega, GA 30533
 (706) 482-3000




Owners and managers of Chelsey Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 10/23/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 01/01/2015
POOLE, BRANDON
since 07/01/2021


OFFICER


HILL, CHRISTOPHER
since 08/01/2021


MANAGING EMPLOYEE


HILL, CHRISTOPHER
since 08/01/2021
SOUTHER, PATTIE
since 10/04/2021
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Cherry Blossom Health and
Rehabilitation

Ownership

 Legal business name
 Cherry Blossom Health Care Center LLC

 Ownership type
 Non profit - Other

 Contact info
 3520 Kenneth Drive
 Macon, GA 31206
 (478) 781-7553




Owners and managers of Cherry Blossom Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


BATHON, CHARITY
since 08/09/2021


MANAGING EMPLOYEE


BATHON, CHARITY
since 08/09/2021
SAVAGE, KELLIE
since 08/02/2021
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Comer Health and
Rehabilitation

Ownership

 Legal business name
 Madison County Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 2430 Paoli Road
 Comer, GA 30629
 (706) 783-5116




Owners and managers of Comer Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/01/2014
POOLE, BRANDON
since 07/01/2021


OFFICER


CHEEK, CHRISTINE
since 04/01/2014
RYALS, KEISHA
since 09/29/2021


MANAGING EMPLOYEE


CHEEK, CHRISTINE
since 04/01/2014
RYALS, KEISHA
since 09/29/2021
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Dawson Health and
Rehabilitation

Ownership

 Legal business name
 Dawson Manor Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 1159 Georgia Ave. S.E.
 Dawson, GA 39842
 (229) 995-5016




Owners and managers of Dawson Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


MIMS, DEBRA
since 02/12/2022


MANAGING EMPLOYEE


MIMS, DEBRA
since 02/12/2022
THOMAS, TAMARA
since 04/20/2020
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Eatonton Health and
Rehabilitation

Ownership

 Legal business name
 Putnam County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 125 Sparta Highway 16 East
 Eatonton, GA 31024
 (706) 485-8573




Owners and managers of Eatonton Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 01/01/2008
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 01/01/2008
POOLE, BRANDON
since 07/01/2021


OFFICER


THORNTON, DAVID
since 11/12/2018


MANAGING EMPLOYEE


MARSHALL, PARTICIA
since 12/28/2020
THORNTON, DAVID
since 11/12/2018
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Four County Health and
Rehabilitation

Ownership

 Legal business name
 Four County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 124 Overby Drive
 Richland, GA 31825
 (229) 887-2021




Owners and managers of Four County Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


METHENY, STEVEN
since 02/09/2015


MANAGING EMPLOYEE


METHENY, STEVEN
since 02/11/2013
NIETO, GLENDA
since 03/12/2014
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Gibson Health and
Rehabilitation

Ownership

 Legal business name
 Glascock County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 434 Beall Springs Road
 Gibson, GA 30810
 (706) 598-3201




Owners and managers of Gibson Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 11/01/2007
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/01/2007
POOLE, BRANDON
since 07/20/2021


OFFICER


SLEDGE PITTARD, TIFFANY
since 02/21/2022


MANAGING EMPLOYEE


ALLEN, CHRISTINE
since 01/08/2010
SLEDGE PITTARD, TIFFANY
since 02/21/2022
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Gordon Health and
Rehabilitation

Ownership

 Legal business name
 Gordon Health Care Center LLC

 Ownership type
 Non profit - Other

 Contact info
 1280 Mauldin Road NE
 Calhoun, GA 30703
 (706) 625-0044




Owners and managers of Gordon Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


BURGER, MAXIC
since 01/01/2019


MANAGING EMPLOYEE


BURGER, MAXIC
since 01/01/2019
WILSON, TAMMY
since 03/18/2019
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Green Acres Health and
Rehabilitation

Ownership

 Legal business name
 Baldwin County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 313 Allen Memorial Drive,sw
 Milledgeville, GA 31061
 (478) 453-9437




Owners and managers of Green Acres Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


BLOODWORTH, CHERYL
since 07/08/2019


MANAGING EMPLOYEE


BLOODWORTH, CHERYL
since 07/08/2019
STOREY, KARLA
since 04/06/2020
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Greene Point Health and
Rehabilitation

Ownership

 Legal business name
 Greene County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 1321 Washington Highway
 Union Point, GA 30669
 (706) 486-2167




Owners and managers of Greene Point Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 11/01/2007
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/01/2007
POOLE, BRANDON
since 07/01/2021


OFFICER


CHAMBERS, CHARITY
since 03/29/2022


MANAGING EMPLOYEE


CHAMBERS, CHARITY
since 03/29/2022
PATTERSON, PEGGY
since 09/04/2021
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Harrington Park Health and
Rehabilitation

Ownership

 Legal business name
 Harrington Park Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 511 Pleasant Home Road
 Augusta, GA 30907
 (762) 222-7200




Owners and managers of Harrington Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 10/23/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 01/01/2015
HUNT, GEORGE
since 01/01/2019


MANAGING EMPLOYEE


HOWARD, ANDREA
since 03/20/2015
ROGERS, TABITHA
since 08/28/2020
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Hartwell Health and
Rehabilitation

Ownership

 Legal business name
 Hart County Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 94 Cade Street
 Hartwell, GA 30643
 (706) 856-6982




Owners and managers of Hartwell Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/26/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 03/26/2014
POOLE, BRANDON
since 07/01/2021


OFFICER


WINFREY, TANYA
since 11/07/2021


MANAGING EMPLOYEE


CALDWELL, MARY
since 08/25/2019
WINFREY, TANYA
since 11/07/2021
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Heritage Inn of Barnesville
Health and Rehab

Ownership

 Legal business name
 Heritage Inn of Barnesville LLC

 Ownership type
 Non profit - Other

 Contact info
 946 Veterans Parkway
 Barnesville, GA 30204
 (770) 358-2485




Owners and managers of Heritage Inn of Barnesville Health and Rehab

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


GERVIL, LESLY
since 04/15/2020


MANAGING EMPLOYEE


ADAMS, APRIL
since 07/18/2021
GERVIL, LESLY
since 04/15/2020
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High Shoals Health and
Rehabilitation

Ownership

 Legal business name
 Oconee County Health & Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 3450 New High Shoals Rd
 Bishop, GA 30621
 (706) 769-7738




Owners and managers of High Shoals Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 08/21/2014
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2014
POOLE, BRANDON
since 07/01/2021


OFFICER


HARRISON, BRANDI
since 05/17/2019


MANAGING EMPLOYEE


HARRISON, BRANDI
since 05/17/2019
PETERS, LAURA
since 10/07/2021
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Lee County Health and
Rehabilitation

Ownership

 Legal business name
 Lee County Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 214 Main Street
 Leesburg, GA 31763
 (229) 759-9236




Owners and managers of Lee County Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


BURNETT, KELLY
since 01/26/2015


MANAGING EMPLOYEE


BURNETT, KELLY
since 03/01/2013
CHAPPELL, BRANDIE
since 01/11/2022
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Legacy Health and
Rehabilitation

Ownership

 Legal business name
 Greene County Nursing Center LLC

 Ownership type
 Non profit - Other

 Contact info
 1201 Siloam Road
 Greensboro, GA 30642
 (706) 453-1912




Owners and managers of Legacy Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 10/01/2006
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2006
POOLE, BRANDON
since 07/01/2021


MANAGING EMPLOYEE


ARENYEKA, EVELYN
since 05/05/2021
JOHNSON, MELONEY
since 01/05/2022
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Lillian G Carter Health and
Rehabilitation

Ownership

 Legal business name
 Lillian G Carter Nursing Center LLC

 Ownership type
 Non profit - Other

 Contact info
 225 Hospital Street
 Plains, GA 31780
 (229) 824-7796




Owners and managers of Lillian G Carter Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


HESS, CHARLES
since 11/02/2021


MANAGING EMPLOYEE


HESS, CHARLES
since 11/02/2021
MOSLEY, JENNIFER
since 02/14/2022
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Lynn Haven Health and
Rehabilitation

Ownership

 Legal business name
 Lynn Haven Nursing Home LLC

 Ownership type
 For profit - Corporation

 Contact info
 747 Monticello Highway
 Gray, GA 31032
 (478) 986-3196




Owners and managers of Lynn Haven Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


COLEMAN, LESLIE
since 12/01/2018


MANAGING EMPLOYEE


BROOKS, JAMIE
since 01/25/2021
COLEMAN, LESLIE
since 12/01/2018
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Montezuma Health Care Center

Ownership

 Legal business name
 Montezuma Health Care Center LLC

 Ownership type
 Non profit - Other

 Contact info
 506 Sumter St
 Montezuma, GA 31063
 (478) 472-8168




Owners and managers of Montezuma Health Care Center

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


ROWE, JOHN
since 04/18/2019


MANAGING EMPLOYEE


BRYANT, THERESA
since 02/17/2020
LEMOND, STEPHANIE
since 04/18/2016
ROWE, JOHN
since 04/18/2019
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Newnan Health and
Rehabilitation

Ownership

 Legal business name
 Newnan Nursing and Rehabilitation LLC

 Ownership type
 Non profit - Other

 Contact info
 244 East Broad Street
 Newnan, GA 30263
 (770) 253-7160




Owners and managers of Newnan Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2010
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/01/2010
POOLE, BRANDON
since 07/01/2021
WILKS, DIANA
since 05/01/2012


OFFICER


KRAFT, ROBERT
since 10/06/2021


MANAGING EMPLOYEE


ANDREWS BATTLES, GLORIA
since 08/01/2020
KRAFT, ROBERT
since 10/06/2021
WILLIAMS, RHONDA
since 12/09/2019
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Northridge Health and
Rehabilitation

Ownership

 Legal business name
 Restoration Healthcare of Commerce LLC

 Ownership type
 Non profit - Other

 Contact info
 100 Medical Center Drive
 Commerce, GA 30529
 (706) 335-1330




Owners and managers of Northridge Health and Rehabilitation

OWNER
5% or greater direct ownership interest

JACKSON COUNTY HEALTHCARE HOLDINGS LLC
since 01/01/2014
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OPERATIONAL/MANAGERIAL CONTROL


HOME AND COMMUNITY SERVICES INC
since 01/01/2014


OFFICER


DALTON, JOHN
since 08/15/2021
POOLE, BRANDON
since 07/01/2021


MANAGING EMPLOYEE


DALTON, JOHN
since 08/15/2021
JONES, MEGAN
since 07/16/2020
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Oak View Home, Inc

Ownership

 Legal business name
 Golden Age Oak View Home LLC

 Ownership type
 Non profit - Other

 Contact info
 119 Oakview Street
 Waverly Hall, GA 31831
 (706) 582-2117




Owners and managers of Oak View Home, Inc

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 09/30/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


KRAFT, ROBERT
since 03/16/2022


MANAGING EMPLOYEE


PHILLIPS, SLOAN
since 01/02/2022
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Oakview Health and
Rehabilitation

Ownership

 Legal business name
 Oakview Nursing & Rehabilitation Center LLC

 Ownership type
 Non profit - Other

 Contact info
 960 Highland Avenue
 Summerville, GA 30747
 (706) 857-4761




Owners and managers of Oakview Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


LAMBERT, RENO
since 06/05/2017


MANAGING EMPLOYEE


JENNINGS, CHRISTIAN
since 10/25/2020
LAMBERT, RENO
since 06/05/2017
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Oconee Health and
Rehabilitation

Ownership

 Legal business name
 Oconee Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 107 Ridgeview Dr
 Oconee, GA 31067
 (478) 552-7381




Owners and managers of Oconee Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


BUTLER, BRENDA
since 01/19/2022


MANAGING EMPLOYEE


BUTLER, BRENDA
since 01/19/2022
JENKINS, TETRA
since 08/25/2018
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Riverside Health and
Rehabilitation

Ownership

 Legal business name
 Riverside Nursing Center of Thomaston LLC

 Ownership type
 Non profit - Other

 Contact info
 101 Old Talbotton Rd
 Thomaston, GA 30286
 (706) 647-8161




Owners and managers of Riverside Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


CLAY, TAMMY
since 07/05/2021


MANAGING EMPLOYEE


ALLEN, BRENDA
since 03/13/2003
CLAY, TAMMY
since 07/05/2021
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Southland Health and
Rehabilitation

Ownership

 Legal business name
 Fayette County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 151 Wisdom Road
 Peachtree City, GA 30269
 (770) 631-9000




Owners and managers of Southland Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 03/31/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


PITTMAN, JACQUELINE
since 09/22/2021


MANAGING EMPLOYEE


PITTMAN, JACQUELINE
since 09/22/2021
VORIE, JOANNA
since 12/01/2019
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Sparta Health and
Rehabilitation

Ownership

 Legal business name
 Sparta Health Care LLC

 Ownership type
 Non profit - Other

 Contact info
 11744 Highway 22 E
 Sparta, GA 31087
 (706) 444-6057




Owners and managers of Sparta Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HODGES, KIMBERLY
since 11/01/2016
HUNT, GEORGE
since 01/01/2019


OFFICER


SAMS, LISA
since 07/20/2020


MANAGING EMPLOYEE


DARGAN, CATHY
since 07/28/2020
SAMS, LISA
since 07/20/2020
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Stevens Park Health and
Rehabilitation

Ownership

 Legal business name
 Stevens Park Health and Rehabilitation Center LLC

 Ownership type
 Non profit - Other

 Contact info
 820 Stevens Creek Road
 Augusta, GA 30907
 (706) 737-0350




Owners and managers of Stevens Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 09/01/2009
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 07/22/2009
POOLE, BRANDON
since 07/01/2021


OFFICER


CHAMBLIN, DIANNA
since 08/28/2017


MANAGING EMPLOYEE


BUFFINGTON, CRYSTAL
since 05/22/2019
CHAMBLIN, DIANNA
since 08/28/2017
HILL, DEEANNA
since 02/15/2017
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Taylor County Health and
Rehabilitation

Ownership

 Legal business name
 Taylor County Health Care LLC

 Ownership type
 Non profit - Corporation

 Contact info
 165 South Broad Street
 Butler, GA 31006
 (478) 862-2220




Owners and managers of Taylor County Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 10/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 09/30/2003
HEALTH SYSTEMS FACILITIES, INC.
since 07/01/2007
POOLE, BRANDON
since 07/01/2021


OFFICER


BARRY, MICHAEL
since 08/02/2020


MANAGING EMPLOYEE


BARRY, MICHAEL
since 08/02/2020
MCGOUGH, CHANCELLOR
since 08/10/2018
WEASON, DEBORAH
since 08/16/2021
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Townsend Park Health and
Rehabilitation

Ownership

 Legal business name
 Townsend Park Health and Rehabilitation LLC

 Ownership type
 Non profit - Other

 Contact info
 196 North Dixie Avenue
 Cartersville, GA 30120
 (770) 387-0662




Owners and managers of Townsend Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 11/01/2011
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/01/2011
POOLE, BRANDON
since 07/01/2021
WILKS, DIANA
since 05/01/2012


OFFICER


MCKINSTER, STACY
since 07/17/2017


MANAGING EMPLOYEE


KIDD, JERI
since 12/20/2020
MCKINSTER, STACY
since 07/17/2017
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Treutlen County Health and
Rehabilitation

Ownership

 Legal business name
 Treutlen County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 2249 College Street, North
 Soperton, GA 30457
 (912) 529-4418




Owners and managers of Treutlen County Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 04/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


BROOKS, JOHNNIE
since 02/28/2014


MANAGING EMPLOYEE


BECK, PEBBLES
since 08/30/2021
BROOKS, JOHNNIE
since 03/13/2003
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Vista Park Health and
Rehabilitation

Ownership

 Legal business name
 Coffee County Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 1310 West Gordon Street
 Douglas, GA 31533
 (912) 384-7811




Owners and managers of Vista Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
POOLE, BRANDON
since 07/01/2021


OFFICER


HILL, STACEY
since 01/15/2014


MANAGING EMPLOYEE


ADAMS, TARA
since 12/30/2017
HILL, STACEY
since 08/16/2005
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Warrenton Health and Rehab

Ownership

 Legal business name
 Selectis Warrenton LLC

 Ownership type
 Government - City

 Contact info
 813 Atlanta Highway
 Warrenton, GA 30828
 (706) 465-3328




Owners and managers of Warrenton Health and Rehab

OWNER
5% or greater direct ownership interest

SELECTIS HEALTH INC (100%)
since 06/21/2021
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5% or greater indirect ownership interest

BALLER, LANCE
since 06/21/2021
RHINE, ZVI
since 06/21/2021


OPERATIONAL/MANAGERIAL CONTROL


BALLER, LANCE
since 06/21/2021
BARKER, CHRISTOPHER
since 06/21/2021
ECKHART, KRYSTAL
since 06/21/2021
ROSS, RHONDA
since 06/21/2021
SELECTIS MANAGEMENT LLC
since 06/21/2021


DIRECTOR
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BARKER, CHRISTOPHER
since 06/21/2021
DESMOND, ADAM
since 06/21/2021
ROSS, RHONDA
since 06/21/2021


OFFICER


BALLER, LANCE
since 06/21/2021
BARKER, CHRISTOPHER
since 06/21/2021
THALL, BRANDON
since 06/21/2021


MANAGING EMPLOYEE


SHEPHERD, JOY
since 06/21/2021
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Waycross Health and
Rehabilitation

Ownership

 Legal business name
 Ware County Health Care LLC

 Ownership type
 Non profit - Corporation

 Contact info
 1910 Dorothy Street
 Waycross, GA 31501
 (912) 285-4721




Owners and managers of Waycross Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SYSTEMS FACILITIES, INC. (100%)
since 11/01/2007
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 11/01/2007
POOLE, BRANDON
since 07/01/2021


OFFICER


ITURBURU, EDWARD
since 08/16/2020


MANAGING EMPLOYEE


ITURBURU, EDWARD
since 08/16/2020
WOODS, SONJA
since 01/05/2022
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Winthrop Health and
Rehabilitation

Ownership

 Legal business name
 Winthrop Manor Nursing Home LLC

 Ownership type
 Non profit - Other

 Contact info
 12 Chateau Drive
 Rome, GA 30161
 (706) 235-1422




Owners and managers of Winthrop Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 04/01/2003
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 10/01/2003
HUNT, GEORGE
since 01/01/2019


OFFICER


BROOKS, MYRA
since 08/27/2014


MANAGING EMPLOYEE


BERNER, PACHIS
since 11/18/2019
BROOKS, MYRA
since 10/20/2003
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Wynfield Park Health and
Rehabilitation

Ownership

 Legal business name
 Wynfield Park Health and Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 223 W.Third Avenue
 Albany, GA 31701
 (229) 435-0741




Owners and managers of Wynfield Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 01/01/2012
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 01/01/2012
POOLE, BRANDON
since 07/01/2021


OFFICER


BARNES, LAURA
since 01/07/2018


MANAGING EMPLOYEE


BARNES, LAURA
since 01/07/2018
BRANCH, BRANDIE
since 08/31/2021
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Zebulon Park Health and
Rehabilitation

Ownership

 Legal business name
 Zebulon Park Health and Rehabilitation, LLC

 Ownership type
 Non profit - Other

 Contact info
 343 Plantation Way
 Macon, GA 31210
 (478) 238-4000




Owners and managers of Zebulon Park Health and Rehabilitation

OWNER
5% or greater direct ownership interest

HEALTH SCHOLARSHIPS INC (100%)
since 05/11/2012
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OPERATIONAL/MANAGERIAL CONTROL


CLINICAL SERVICES, INC.
since 05/11/2012
POOLE, BRANDON
since 07/01/2021


OFFICER


SAPP, MADISON
since 08/10/2021


MANAGING EMPLOYEE


HENDERSON, TOMMIE
since 02/22/2021
SAPP, MADISON
since 08/10/2021
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                       CERTIFICATE OF COMPLIANCE

        The undersigned certified that this pleading was prepared using Book

Antiqua 13-point font in accordance with LR, NDGa 5.1(C).

                                            /s/ W. Jerad Rissler
                                            W. Jerad Rissler
                                            Georgia Bar No. 142024




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                            CERTIFICATE OF SERVICE
        I hereby certify that on July 6th, 2022, I electronically filed the foregoing

Request for Judicial Notice in Support of Defendant Community Primary Care

of Georgia, LLC’S Motion to Dismiss Relator’s Second Amended Complaint

with the Clerk of Court using the CM/ECF system which will automatically send

email notification of such filing to all Counsel of Record.

                                               /s/ W. Jerad Rissler
                                               W. Jerad Rissler
                                               Georgia Bar No. 142024


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Facsimile: 404.873.8501




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